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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SEEMA MADHAVAN, individually and on              )
 behalf of herself and all others similarly       )
 situated,                                        )
                                                  ) Case No. 1:22-cv-01350
                         Plaintiffs,              )
                                                  ) Judge Edmond E. Chang
 v.                                               )
                                                  )
 BLISTEX INC.,                                    )
                                                  )
                         Defendant.               )


             BLISTEX INC.’S UNOPPOSED MOTION FOR EXCESS PAGES

        Defendant Blistex Inc. (“Blistex”), by and through undersigned counsel, hereby submits

this Unopposed Motion for Excess Pages Regarding its Reply in Support of its Motion to Dismiss

(“Reply”), and in support thereof respectfully states as follows:

        1.      On March 15, 2022, Plaintiff initiated this putative class action lawsuit against

Blistex. (Dkt. 1.) This action stems from the recall and refund of certain lots of anti-fungal foot

spray products under the brand name Odor-Eaters.

        2.      Plaintiff brings claims for (i) breach of express warranty, (ii) breach of implied

warranty, (iii) unjust enrichment, (iv) violation of New York General Business Law § 349,

(v) violation of New York General Business Law § 350 and (vi) violation of the Magnuson-Moss

Warranty Act.

        3.      On April 27, 2022, the Parties jointly moved to file their opening and response

briefs concerning Blistex’s then-forthcoming Motion to Dismiss up to 23 pages in length. (Dkt.

8.) This Court granted the Parties’ joint motion on April 29, 2022. (Dkt. 10.)
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          4.     On May 6, 2022, Blistex filed its Motion to Dismiss Plaintiff’s Complaint, which

was 23 pages in length. (Dkt. 13.) On June 6, 2022, Plaintiff filed her Opposition, which was 20

pages in length. (Dkt. 20.)

          5.     In the course of preparing its Reply, Blistex has concluded that it requires one

additional page in order to adequately analyze and respond to Plaintiff’s Opposition.

          6.     On June 13, 2022, counsel for Blistex met and conferred with counsel for Plaintiff

via email. Plaintiff does not oppose Blistex’s request.

          7.     Blistex thus respectfully requests permission to file its Reply up to 16 pages in

length.

          WHEREFORE, Blistex respectfully requests up to 16 pages for its Reply.



Dated: June 14, 2022                          BENESCH, FRIEDLANDER,
                                              COPLAN & ARONOFF LLP



                                              By:     /s/ Mark S. Eisen

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                                              Counsel for Blistex Inc.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was filed with the Clerk of the
Court and that copies of the foregoing were transmitted to all parties of record via the Court’s
CM/ECF electronic filing system.


                                                      /s/ Mark S. Eisen
